                             Case 19-11736-CSS                            Doc 286              Filed 03/27/20                   Page 1 of 20



                                                             UNITED STATES BANKRUPTCY COURT
                                                              __________ DISTRICT OF ___________


      Cedar Haven Acquisition, LLC
In re ______________________                                                                       19-11736 (CSS)
                                                                                        Case No. ___________________________
                                                                                                           January 2020
                                                                                        Reporting Period:______________________


                                                                  MONTHLY OPERATING REPORT
                               File with Court and submit copy to United States Trustee within 20 days after end of month.


Submit copy of report to any official committee appointed in the case.

                                                                                                                      Document    Explanation Affidavit/Supplement
REQUIRED DOCUMENTS                                                                        Form No.                    Attached     Attached         Attached
Schedule of Cash Receipts and Disbursements                                             MOR-1                        Attached
   Bank Reconciliation (or copies of debtor's bank reconciliations)                     MOR-1a
   Schedule of Professional Fees Paid                                                   MOR-1b                       Included
   Copies of bank statements                                                                                         Attached
   Cash disbursements journals                                                                                       Attached
Statement of Operations                                                                 MOR-2
Balance Sheet                                                                           MOR-3                        Attached
Status of Postpetition Taxes                                                            MOR-4                        Included
  Copies of IRS Form 6123 or payment receipt
  Copies of tax returns filed during reporting period
Summary of Unpaid Postpetition Debts                                                    MOR-4                        Included
  Listing of aged accounts payable                                                      MOR-4                        Attached
Accounts Receivable Reconciliation and Aging                                            MOR-5                        Included
Debtor Questionnaire                                                                    MOR-5                        Included



I declare under penalty of perjury (28 U.S.C. Section 1746) that this report and the attached documents
are true and correct to the best of my knowledge and belief.


_______________________________________                                                      3/23/2020
                                                                                        ______________________________
Signature of Debtor                                                                     Date


_______________________________________                                                 ______________________________
Signature of Joint Debtor                                                               Date


_______________________________________                                                 ______________________________
Signature of Authorized Individual*                                                     Date


_______________________________________                                                 ______________________________
Printed Name of Authorized Individual                                                   Title of Authorized Individual



*Authorized individual must be an officer, director or shareholder if debtor is a corporation; a partner if debtor
is a partnership; a manager or member if debtor is a limited liability company.




                                                                                                                                                                MOR
                                                                                                                                                              (04/07)
                                Case 19-11736-CSS                      Doc 286            Filed 03/27/20                Page 2 of 20



       Cedar Haven Acquisition, LLC
In re______________________________________________                                                                 19-11736 (CSS)
                                                                                                          Case No. _________________________________________
                                                                ATTACHED
                     Debtor                                                                                                              Jan 2020
                                                                                                          Reporting Period: __________________________________
                                      SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS
Amounts reported should be per the debtor's books, not the bank statement. The beginning cash should be the ending cash from the prior month or, if this is the
first report, the amount should be the balance on the date the petition was filed. The amounts reported in the "CURRENT MONTH - ACTUAL" column must
equal the sum of the four bank account columns. The amounts reported in the "PROJECTED" columns should be taken from the SMALL BUSINESS INITIAL
REPORT (FORM IR-1) . Attach copies of the bank statements and the cash disbursements journal. The total disbursements listed in the disbursements journal
must equal the total disbursements reported on this page. A bank reconciliation must be attached for each account. [See MOR-1 (CON'T)]

                                                      BANK ACCOUNTS                           CURRENT MONTH                   CUMULATIVE FILING TO DATE
                                         OPER.     PAYROLL       TAX        OTHER          ACTUAL            PROJECTED              ACTUAL            PROJECTED

CASH BEGINNING OF MONTH



RECEIPTS

CASH SALES

ACCOUNTS RECEIVABLE

LOANS AND ADVANCES

SALE OF ASSETS

OTHER (ATTACH LIST)

TRANSFERS (FROM DIP ACCTS)



  TOTAL RECEIPTS



DISBURSEMENTS

NET PAYROLL

PAYROLL TAXES

SALES, USE, & OTHER TAXES

INVENTORY PURCHASES

SECURED/ RENTAL/ LEASES

INSURANCE

ADMINISTRATIVE

SELLING

OTHER (ATTACH LIST)



OWNER DRAW *

TRANSFERS (TO DIP ACCTS)



PROFESSIONAL FEES

U.S. TRUSTEE QUARTERLY FEES

COURT COSTS

TOTAL DISBURSEMENTS



NET CASH FLOW

(RECEIPTS LESS DISBURSEMENTS)




CASH - END OF MONTH

* COMPENSATION TO SOLE PROPRIETORS FOR SERVICES RENDERED TO BANKRUPTCY ESTATE


                                                        THE FOLLOWING SECTION MUST BE COMPLETED
DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES: (FROM CURRENT MONTH ACTUAL COLUMN)

TOTAL DISBURSEMENTS                                                                                                                               $   2,417,626
  LESS: TRANSFERS TO DEBTOR IN POSSESSION ACCOUNTS                                                                                                $

  PLUS: ESTATE DISBURSEMENTS MADE BY OUTSIDE SOURCES (i.e. from escrow accounts)                                                                  $

TOTAL DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES                                                                                   $   2,417,626




                                                                                                                                                                  FORM MOR-1
                                                                                                                                                                       (04/07)
                                                                                      Case 19-11736-CSS                                                            Doc 286                                 Filed 03/27/20                                                Page 3 of 20

Cedar Haven Acquisition, LLC
Schedule of Receipts and Disbursements
Jan 2020                                                                                                                                thru 9/30/2019                                           thru 10/31/2019                                          thru 11/30/2019                                      thru 12/31/2019                                   thru 1/31/2020
                                                                                         Actual        Forecast                     Actual                       Forecast                      Actual                     Forecast                      Actual                  Forecast                     Actual                 Forecast                    Actual                 Forecast
                                                        Actual Aug     Forecast Aug    Cumulative     Cumulative    Actual Sept   Cumulative    Forecast Sept   Cumulative      Actual Oct   Cumulative Forecast Oct     Cumulative     Actual Nov    Cumulative Forecast Nov Cumulative     Actual Dec    Cumulative Forecast Dec Cumulative     Actual Jan  Cumulative Forecast Jan Cumulative
Opening Balance                                             121,161         121,000        121,161        121,000       108,897       121,161        162,896         121,000       110,932      121,161        11,062       121,000        159,666       121,161        (2,227)   121,000       120,703       121,161        30,652   121,000          85,324    121,161      (99,781)   121,000

Receipts:
Line of Credit                                            2,551,599       2,650,000      2,551,599      2,650,000     2,039,600      4,591,199      2,040,000      4,690,000     2,314,800     6,905,999    2,370,000      7,060,000     2,115,000     9,020,999    2,110,000   9,170,000     2,080,524    11,101,523    2,200,000   11,370,000     3,050,344   14,151,867   2,679,383   14,049,383
Medicare A and B                                                 50                             50                            0             50              0              0                          50            0              0                          50                        0                          50            0            0             0           50           0            0
HMO                                                               0                              0                            0              0              0              0                           0            0              0                           0                        0                           0            0            0             0            0           0            0
Private Pay Residents                                            25                             25                        9,045          9,070              0              0         2,542        11,612            0              0         1,226        12,838                        0         4,007        16,845            0            0         2,424       19,269           0            0
Medicaid                                                          0                              0                            0              0              0              0                           0            0              0                           0                        0                           0            0            0             0            0           0            0
Resident Liability                                            3,371                          3,371                            0          3,371              0              0                       3,371            0              0                       3,371                        0                       3,371            0            0             0        3,371           0            0
Other Rev (Renova, Gift Shop, Vending)                            0                              0                            0              0              0              0                           0            0              0                           0                        0                           0            0            0             0            0           0            0
Disproportionate Share                                            0                              0                            0              0              0              0                           0            0              0                           0                        0                           0            0            0             0            0           0            0
Bed Tax Revenue (Net)                                             0                              0                            0              0              0              0                           0            0              0                           0                        0                           0            0            0             0            0           0            0
Total Receipts                                            2,555,045       2,650,000      2,555,045      2,650,000     2,048,645      4,603,690      2,040,000      4,690,000     2,317,342     6,921,032    2,370,000      7,060,000     2,116,226     9,037,258    2,110,000   9,170,000     2,084,531    11,121,789    2,200,000   11,370,000     3,052,768   14,174,557   2,679,383   14,049,383

Payments:
Payroll & Taxes Incl PTO                                  1,763,444       1,770,000      1,763,444      1,770,000     1,192,410      2,955,854      1,200,000      2,970,000     1,175,750     4,131,604    1,180,000      4,150,000     1,163,642     5,295,246    1,180,000   5,330,000     1,874,169     7,169,415    1,200,000    6,530,000     1,326,035    8,495,450   1,930,000  8,460,000
Agency                                                        4,560          16,000          4,560         16,000        11,265         15,825         16,000         32,000        23,999        39,824       28,000         60,000        19,285        59,109       32,000      92,000        15,071        74,180       26,000      118,000        23,927       98,107      20,000    138,000
Benefits (401K)                                              24,287          25,000         24,287         25,000        25,387         49,674         25,500         50,500        37,247        86,921       38,500         89,000        40,520       127,441       35,000     124,000        26,635       154,076       27,500      151,500        28,276      182,352      29,000    180,500
Insurance ‐ Health                                          105,570          95,000        105,570         95,000       104,522        210,092        110,000        205,000       160,062       370,154      120,000        325,000        60,000       430,154      110,000     435,000       107,500       537,654      105,000      540,000       126,755      664,409     126,000    666,000
Insurance ‐ Other (Life)                                      1,107           1,200          1,107          1,200             0          1,107            600          1,800         1,681         2,788          600          2,400             0         2,788          600       3,000             0         2,788          600        3,600           366        3,154         600      4,200
Accounting                                                        0               0              0              0             0              0              0              0             0             0            0              0        21,000        21,000       42,000      42,000        21,000        42,000            0       42,000             0       42,000           0     42,000
Marketing / Communications                                        0           1,000              0          1,000             0              0            500          1,500           500           500        2,000          3,500             0           500            0       3,500             0           500        1,500        5,000             0          500       2,000      7,000
Management Fee                                               46,614          46,614         46,614         46,614        28,665         75,279        128,386        175,000       126,918       202,197       75,000        250,000        66,353       268,550      115,000     365,000        20,000       288,550       70,000      435,000       150,824      439,374     135,000    570,000
Minor Equip & R&M                                             2,447           2,615          2,447          2,615        17,137         19,584          2,615          5,230        18,310        37,894        2,615          7,845        15,602        53,496       45,500      53,345        38,195        91,691       39,500       92,845        10,947      102,638      11,000    103,845
Pharmacy & Lab Costs                                              0          39,000              0         39,000        27,168         27,168         39,000         78,000        36,842        64,010       67,000        145,000        11,183        75,193       12,500     157,500        23,873        99,066       38,000      195,500         9,291      108,357      33,000    228,500
Rent                                                        250,000         250,000        250,000        250,000       250,000        500,000        250,000        500,000       250,000       750,000      250,000        750,000       250,000     1,000,000      250,000   1,000,000       250,000     1,250,000      250,000    1,250,000       264,583    1,514,583     264,583  1,514,583
Software/Hardware and IT Fees                                24,733          27,275         24,733         27,275        22,158         46,891         16,233         43,508        35,285        82,176       33,774         77,282        18,178       100,354        3,800      81,082           658       101,012       17,541       98,623        35,301      136,313      17,541    116,164
Taxes, Insurance & Replace Res                               39,800          39,800         39,800         39,800        39,800         79,600         39,800         79,600        39,800       119,400       39,800        119,400        39,800       159,200       39,800     159,200        39,800       199,000       39,800      199,000        39,800      238,800      39,800    238,800
Utilities and Other Taxes                                     7,330          11,100          7,330         11,100        34,818         42,148         22,500         33,600        46,488        88,636       47,500         81,100        32,703       121,339       25,000     106,100        27,190       148,529            0      106,100        46,330      194,859      25,000    131,100
Contract Service (Diet, Hskg, Laundry, Pharm consult)       138,565         138,600        138,565        138,600       141,575        280,140        108,000        246,600       124,197       404,337      135,000        381,600       148,684       553,021      114,500     496,100       111,500       664,521      114,500      610,600       151,200      815,721     140,000    750,600
Travel, Educ & Subscriptions                                      0               0              0              0             0              0            300            300             0             0          600            900           549           549            0         900           651         1,200          500        1,400             0        1,200         500      1,900
Other Supplies (Medline, etc)                                76,052          60,000         76,052         60,000        61,612        137,664         50,000        110,000        72,043       209,707       65,000        175,000        72,650       282,357       60,000     235,000        52,364       334,721       60,000      295,000        71,081      405,802      75,000    370,000
Licenses & Prof Fees                                              0           2,400              0          2,400         1,707          1,707          2,400          4,800        14,784        16,491        5,900         10,700         3,169        19,660        3,700      14,400             0        19,660        3,000       17,400         2,500       22,160       2,500     19,900
Insurance ‐Property and Liability                                                                                        74,497         74,497              0              0             0        74,497      134,000        134,000        53,338       127,835            0     134,000        53,338       181,173       53,339      187,339        53,338      234,511      53,339    240,678
Other Expenses                                                1,001                          1,001                       13,889         14,890              0              0        15,778        30,668        3,000          3,000        21,027        51,695        7,721      10,721        12,917        64,612        8,000       18,721        48,527      113,139      12,000     30,721
Total Payments                                            2,485,510       2,525,604      2,485,510      2,525,604     2,046,609      4,532,119      2,011,834      4,537,438     2,179,684     6,711,803    2,228,289      6,765,727     2,037,683     8,749,486    2,077,121   8,842,848     2,674,861    11,424,347    2,054,780   10,897,628     2,389,082   13,813,429   2,916,863 13,814,491
Net Cash Flow (Operations)                                   69,535         124,396         69,535        124,396         2,035         71,570         28,166        152,562       137,658       209,228      141,711        294,273        78,543       287,771       32,879     327,152      (590,330)     (302,559)     145,220      472,372       663,687      361,128    (237,480)   234,892

Transaction Expenses:
Debtor's counsel                                             25,000          25,000         25,000         25,000            0         25,000        100,000        125,000         59,208       84,208        50,000       175,000         18,215       102,423           0      175,000        31,236       133,659           0      175,000             0      133,659           0      175,000
Lender Legal                                                 19,300          20,000         19,300         20,000            0         19,300         40,000         60,000              0       19,300        40,000       100,000              0        19,300           0      100,000        26,598        45,898           0      100,000         6,145       78,867           0      100,000
Committee counsel                                                 0               0              0              0            0              0         25,000         25,000              0            0        50,000        75,000         53,477        53,477           0       75,000        15,029        68,506           0       75,000             0       68,505           0       75,000
Claims Agent                                                 15,000          15,000         15,000         15,000            0         15,000         15,000         30,000         29,391       44,391        15,000        45,000              0        44,391           0       45,000        31,480        75,870           0       45,000         5,857       81,727           0       45,000
Closing Fee                                                  22,500          22,500         22,500         22,500            0         22,500              0         22,500              0       22,500             0        22,500              0        22,500           0       22,500             0        22,500           0       22,500             0       22,500           0       22,500
Patient Ombudsman                                                 0               0              0              0            0              0              0              0              0            0             0             0              0             0           0            0             0             0           0            0             0            0           0            0
US Trustee Fees                                                                                                                                                                        325          325             0             0         45,814        46,139           0            0             0        46,139      70,814       70,814        22,686       68,825      25,000       95,814
Total Transaction Expenses                                   81,800          82,500         81,800         82,500             0         81,800       180,000         262,500        88,924      170,724       155,000       417,500        117,506       288,230           0      417,500       104,343       392,572      70,814      488,314        34,688      454,083      25,000      513,314
Total Net Cash Flow                                         (12,265)         41,896        (12,265)        41,896         2,035        (10,230)     (151,834)       (109,938)       48,734       38,505       (13,289)     (123,227)       (38,963)         (458)     32,879      (90,348)     (694,673)     (695,130)     74,406      (15,942)      628,999      (92,955)   (262,480)    (278,422)

Closing Balance                                             108,896         162,896        108,896        162,896       110,932       110,931         11,062         11,062        159,666      159,666        (2,227)        (2,227)      120,703       120,703      30,652       30,652      (573,970)     (573,969)    105,058      105,058       714,323       28,206    (362,261)    (157,422)
                             Case 19-11736-CSS                              Doc 286               Filed 03/27/20                    Page 4 of 20



        Cedar Haven Acquisition, LLC
In re_________________________________________                                                                                  19-11736 (CSS)
                                                                                                                    Case No. _________________________________
                   Debtor                                                                                                               Jan 2020
                                                                                                                    Reporting Period:___________________________

                                                                      BANK RECONCILIATIONS                                  ATTACHED
                                                                        Continuation Sheet for MOR-1
                         A bank reconciliation must be included for each bank account. The debtor's bank reconciliation may be substituted for this page.


                                                              Operating                         Payroll                           Tax                               Other
                                                    #                               #                               #                               #
BALANCE PER BOOKS


BANK BALANCE
(+) DEPOSITS IN TRANSIT (ATTACH LIST)
(-) OUTSTANDING CHECKS (ATTACH LIST)
OTHER (ATTACH EXPLANATION)
ADJUSTED BANK BALANCE *
* Adjusted bank balance must equal
  balance per books


DEPOSITS IN TRANSIT                                      Date          Amount            Date          Amount            Date           Amount              Date        Amount




CHECKS OUTSTANDING                                      Ck. #          Amount           Ch. #          Amount            Ck. #          Amount              Ck. #       Amount




OTHER




                                                                                                                                                                             FORM MOR-1a
                                                                                                                                                                                   (04/07)
             Case 19-11736-CSS           Doc 286       Filed 03/27/20    Page 5 of 20




March 16, 2020

This is to confirm that bank reconciliations were completed for the accounts below for the month ended


There were no unidentified reconciling items for any account.


 Bank Account                                   Account Number      Date of Reconciliation
                                                (last 4)

 CIBC Operating                                 7104                2/19/2020
 CIBC Disbursements                             9824                2/19/2020
 CIBC Combined Receipts                         6820                2/19/2020
 CIBC Government                                9036                2/19/2020
 FCCB Deposit                                   6678                2/19/2020
 FCCB Gift                                      2395                2/21/2020
 FCCB Claims Funding (HRA)                      5402                2/20/2020
 FCCB Petty Cash                                6660                2/21/2020
 FCCB Resident Trust                            6652                2/21/2020




Sincerely,




Lynne Hammond
Director of Operations
Stone Barn Management




                                                                        STONE BARN
                                                                        PO Box 154
                                                                        Madison, ME 04950
                                                                        https://stonebarnmanagement.com
                                                                        https://stonebarnholdings.com
                         Case 19-11736-CSS               Doc 286          Filed 03/27/20           Page 6 of 20



               Cedar Haven Acquisition, LLC
        In re_________________________________________                                                             19-11736 (CSS)
                                                                                                        Case No. ________________________
                             Debtor                                                                                        Jan 2020
                                                                                                        Reporting Period:___________________

                                       SCHEDULE OF PROFESSIONAL FEES AND EXPENSES PAID                                                     ATTACHED
                               This schedule is to include all retained professional payments from case inception to current month.

                          Amount                                   Check                         Amount Paid                              Year-To-Date
Payee   Period Covered   Approved              Payor           Number    Date                Fees       Expenses                      Fees          Expenses




                                                                                                                                                       FORM MOR-1b
                                                                                                                                                             (04/07)
                                                                      Case 19-11736-CSS                      Doc 286             Filed 03/27/20               Page 7 of 20


Cedar Haven Acquisition, LLC
Professional Fees to Date
Case 19‐11736 (CSS)
For Period ended 1/31/2020
                                                                                                                                                              Amount Paid     Amount Paid                        Year to Date    Year to Date Total
                                                                                                                                 Check #      Payment Date                                   Year to Date Fees
Payee                                 Period Covered                  Amount Approved     Payor                                                                  Fees          Expenses                           Expenses              Paid
Stretto                                       7/30/19 ‐ 8/5/19                $7,324.20   Cedar Haven Acquisition, LLC        Wire                 07/31/19      $15,000.00          $0.00        $15,000.00             $0.00         $15,000.00
Capital Finance                                 Closing Fees                 $22,500.00   Cedar Haven Acquisition, LLC        from LOC             08/09/19      $22,500.00          $0.00        $37,500.00             $0.00         $37,500.00
Chipman Brown                                 8/2/19 ‐ 8/31/19               $59,207.95   Cedar Haven Acquisition, LLC        Wire                 10/11/19      $58,404.48        $803.47        $95,904.48           $803.47         $96,707.95
Stretto                                       8/6/19 ‐ 8/31/19               $17,063.47   Cedar Haven Acquisition, LLC        Wire                 10/18/19      $17,063.47          $0.00       $112,967.95           $803.47        $113,771.42
Stretto                                       9/1/19 ‐ 9/30/19               $12,327.24   Cedar Haven Acquisition, LLC        Wire                 10/18/19      $12,327.24          $0.00       $125,295.19           $803.47        $126,098.66
US Trustee                              8/2/19 ‐ 9/30/19 (estimate)             $325.00   Cedar Haven Acquisition, LLC        16759                10/31/19         $325.00          $0.00       $125,620.19           $803.47        $126,423.66
Potter Anderson                               8/2/19 ‐ 9/30/19               $41,323.22   Cedar Haven Acquisition, LLC        16764                11/14/19      $40,699.60        $623.62       $166,319.79         $1,427.09        $167,746.88
Ryniker Consultants                          8/20/19 ‐ 9/30/19               $12,153.40   Cedar Haven Acquisition, LLC        16765                11/14/19      $12,152.00          $1.30       $178,471.79         $1,428.39        $179,900.18
Chipman Brown                                 9/1/19‐ 9/30/19                $18,215.20   Cedar Haven Acquisition, LLC        Wire                 11/21/19      $18,215.20          $0.00       $196,686.99         $1,428.39        $198,115.38
US Trustee                               8/2/19 ‐ 9/30/19 (actual)           $45,814.00   Cedar Haven Acquisition, LLC        16827                11/27/19      $45,814.00          $0.00       $242,500.99         $1,428.39        $243,929.38
Chipman Brown                                 9/1/19‐ 9/30/19                   $272.90   Cedar Haven Acquisition, LLC        16841                12/12/19           $0.00        $272.90       $242,500.99         $1,701.29        $244,202.28
Chipman Brown                               10/1/19 ‐ 10/31/19               $30,963.30   Cedar Haven Acquisition, LLC        Wire                 12/26/19      $30,696.40        $266.90       $273,197.39         $1,968.19        $275,165.58
Potter Anderson                             10/1/19 ‐ 10/31/19               $10,708.80   Cedar Haven Acquisition, LLC        16836                12/12/19      $10,522.80        $186.00       $283,720.19         $2,154.19        $285,874.38
Ryniker Consultants                         10/1/19 ‐ 10/31/19                $4,320.00   Cedar Haven Acquisition, LLC        16837                12/12/19       $4,320.00          $0.00       $288,040.19         $2,154.19        $290,194.38
Stretto                                     10/1/19 ‐ 10/31/19               $31,479.64   Cedar Haven Acquisition, LLC        16867                12/26/19      $31,479.64          $0.00       $319,519.83         $2,154.19        $321,674.02
US Trustee                                  10/1/19 ‐ 10/31/19               $22,686.00   Cedar Haven Acquisition, LLC        16872                01/09/20      $22,686.00          $0.00       $342,205.83         $2,154.19        $344,360.02
Stretto                                     11/1/19 ‐ 11/30/19                $5,856.75   Cedar Haven Acquisition, LLC        16871                01/09/20       $5,856.75          $0.00       $348,062.58         $2,154.19        $350,216.77




                                                                                                            Paid through the Line of Credit
Miles and Stockbridge                           July 2019                    $32,516.70   Cedar Haven Acquisition, LLC        LoC                  07/24/19      $32,234.00        $282.70       $351,753.83         $2,436.89        $354,190.72
Miles and Stockbridge                          August 2019                   $19,299.50   Cedar Haven Acquisition, LLC        LoC                  08/01/19      $19,299.50          $0.00       $371,053.33         $2,436.89        $373,490.22
McCarter and English                            Sept 2019                     $3,360.00   Cedar Haven Acquisition, LLC        LoC                  09/03/19       $3,334.00         $26.00       $374,387.33         $2,462.89        $376,850.22
Miles and Stockbridge                           Sept 2019                    $16,400.28   Cedar Haven Acquisition, LLC        LoC                  09/19/19      $16,297.50        $102.78       $390,684.83         $2,565.67        $393,250.50
Miles and Stockbridge                            Oct 2019                     $5,662.78   Cedar Haven Acquisition, LLC        LoC                  10/10/19       $5,560.00        $102.78       $396,244.83         $2,668.45        $398,913.28
McCarter and English                             Oct 2019                     $1,319.90   Cedar Haven Acquisition, LLC        LoC                  10/15/19       $1,316.00          $3.90       $397,560.83         $2,672.35        $400,233.18
McCarter and English                             Oct 2019                     $1,071.00   Cedar Haven Acquisition, LLC        LoC                  10/31/19       $1,071.00          $0.00       $398,631.83         $2,672.35        $401,304.18
Miles and Stockbridge                           Nov 2019                      $8,210.00   Cedar Haven Acquisition, LLC        LoC                  11/04/19       $8,180.00         $30.00       $406,811.83         $2,702.35        $409,514.18
Miles and Stockbridge                           Dec 2019                     $16,582.50   Cedar Haven Acquisition, LLC        LoC                  12/02/19      $16,467.50        $115.00       $423,279.33         $2,817.35        $426,096.68
McCarter and English                            Dec 2019                        $816.00   Cedar Haven Acquisition, LLC        LoC                  12/04/19         $816.00          $0.00       $424,095.33         $2,817.35        $426,912.68
Breslin, Young & Slaughter                2019 Cap Fin Audit Fees             $8,200.00   Cedar Haven Acquisition, LLC        LoC                  12/13/19       $8,200.00          $0.00       $432,295.33         $2,817.35        $435,112.68
Capital Finance                         Dec 2019‐Same Day Funding             $1,000.00   Cedar Haven Acquisition, LLC        LoC                  12/31/19       $1,000.00          $0.00       $433,295.33         $2,817.35        $436,112.68
Miles and Stockbridge                           Dec 2019                      $5,560.00   Cedar Haven Acquisition, LLC        LoC                  01/22/20       $5,560.00          $0.00       $438,855.33         $2,817.35        $441,672.68
McCarter and English                            Dec 2019                        $585.00   Cedar Haven Acquisition, LLC        LoC                  01/22/20         $585.00          $0.00       $439,440.33         $2,817.35        $442,257.68




Not included in Lender expenses on Actual to Budget reports
                        Case 19-11736-CSS                     Doc 286           Filed 03/27/20            Page 8 of 20



       Cedar Haven Acquisition, LLC
In re________________________________                                                           19-11736 (CSS)
                                                                                     Case No.____________________________________
                   Debtor                                                                                          Jan 2020
                                                                                     Reporting Period.:_____________________________

                                               STATEMENT OF OPERATIONS                               ATTACHED
                                                           (Income Statement)

The Statement of Operations is to be prepared on an accrual basis. The accrual basis of accounting recognizes revenue when it is
realized and expenses when they are incurred, regardless of when cash is actually received or paid.

                                                                                                                       Cumulative
REVENUES                                                                             Month                            Filing to Date
Gross Revenues                                                                       $                          $
Less: Returns and Allowances
Net Revenue                                                                          $                          $
COST OF GOODS SOLD
Beginning Inventory
Add: Purchases
Add: Cost of Labor
Add: Other Costs (attach schedule)
Less: Ending Inventory
Cost of Goods Sold
Gross Profit
OPERATING EXPENSES
Advertising
Auto and Truck Expense
Bad Debts
Contributions
Employee Benefits Programs
Insider Compensation*
Insurance
Management Fees/Bonuses
Office Expense
Pension & Profit-Sharing Plans
Repairs and Maintenance
Rent and Lease Expense
Salaries/Commissions/Fees
Supplies
Taxes - Payroll
Taxes - Real Estate
Taxes - Other
Travel and Entertainment
Utilities
Other (attach schedule)
Total Operating Expenses Before Depreciation
Depreciation/Depletion/Amortization
Net Profit (Loss) Before Other Income & Expenses
OTHER INCOME AND EXPENSES
Other Income (attach schedule)
Interest Expense
Other Expense (attach schedule)
Net Profit (Loss) Before Reorganization Items
REORGANIZATION ITEMS
Professional Fees
U. S. Trustee Quarterly Fees
Interest Earned on Accumulated Cash from Chapter 11 (see continuation sheet)
Gain (Loss) from Sale of Equipment
Other Reorganization Expenses (attach schedule)
Total Reorganization Expenses
Income Taxes
Net Profit (Loss)                                                                    $                          $

*"Insider" is defined in 11 U.S.C. Section 101(31).




                                                                                                                                       FORM MOR-2
                                                                                                                                            (04/07)
                      Case 19-11736-CSS                 Doc 286         Filed 03/27/20           Page 9 of 20



      Cedar Haven Acquisition, LLC
In re___________________________________                                             19-11736 (CSS)
                                                                          Case No.__________________________________
             Debtor                                                                                    Jan 2020
                                                                          Reporting Period:___________________________


                                 STATEMENT OF OPERATIONS - continuation sheet


                                                                                                                Cumulative
BREAKDOWN OF "OTHER" CATEGORY                                             Month                                Filing to Date

Other Costs




Other Operational Expenses




Other Income




Other Expenses




Other Reorganization Expenses




Reorganization Items - Interest Earned on Accumulated Cash from Chapter 11:
Interest earned on cash accumulated during the chapter 11 case, which would not have been earned but for the
bankruptcy proceeding, should be reported as a reorganization item.




                                                                                                                    FORM MOR-2 CONT'D
                                                                                                                                (04/07)
                       Case 19-11736-CSS   Doc 286   Filed 03/27/20   Page 10 of 20


Cedar Haven Healthcare Center
Income Statement
1/1/2020 to 1/31/2020

             Jan‐20
Revenue
 Room Revenues
   Medica 201,887
   Medica 121,000
   Private   96,365
   Medica 1,594,553
   MCD HM     1,250
   Insuran        0
   Disprop   12,000
 TOTAL Ro 2,027,056

 Ancillary Revenues
  Pharma        ‐182
  Speech      35,234
  Physica 124,254
  Occupa 135,851
  Other A ‐79,892
 TOTAL An 215,266

 Other Revenues
  Other R    35,552
  Assessm 80,000
 TOTAL Ot 115,552
TOTAL Rev 2,357,873

Main Expense Buildup
 Nursing 1,041,885
 Pharmacy 35,451
 Therapy    181,737
 Barber &     6,082
 Activity    52,269
 Social Ser  17,676
 Central Su 84,090
 Dietary Ex 231,024
 Admissio    15,687
 Administr 167,174
 Building & 99,895
 Housekee 135,790
 Business    40,261
TOTAL Mai 2,109,022

Manageme 118,319

Rent Expense & Property Taxes
 Taxes Exp 28,955
 Rent Exp 264,583
TOTAL Ren 293,538

Other Expense/(Income) Buildup Summary
 Depreciat 13,574
 Interest I  41,631
 Extraordi   65,452
TOTAL Oth 120,657

Net Income ‐283,663
                                Case 19-11736-CSS                                  Doc 286                 Filed 03/27/20                        Page 11 of 20



         Cedar Haven Acquisition, LLC
In re ______________________________________________________________                                                                                             19-11736 (CSS)
                                                                                                                                                       Case No. _______________________________
                                   Debtor                                                                                                                              Jan 2020
                                                                                                                                                       Reporting Period:__________________________

                                                                                      BALANCE SHEET                                                        ATTACHED

The Balance Sheet is to be completed on an accrual basis only. Pre-petition liabilities must be classified separately from postpetition obligations.

                                                                                                         BOOK VALUE AT END OF                                 BOOK VALUE ON
                                        ASSETS                                                      CURRENT REPORTING MONTH                                    PETITION DATE
CURRENT ASSETS
Unrestricted Cash and Equivalents
Restricted Cash and Cash Equivalents (see continuation sheet)
Accounts Receivable (Net)
Notes Receivable
Inventories
Prepaid Expenses
Professional Retainers
Other Current Assets (attach schedule)
TOTAL CURRENT ASSETS                                                                         $                                                         $
PROPERTY AND EQUIPMENT
Real Property and Improvements
Machinery and Equipment
Furniture, Fixtures and Office Equipment
Leasehold Improvements
Vehicles
Less Accumulated Depreciation
TOTAL PROPERTY & EQUIPMENT                                                                   $                                                         $
OTHER ASSETS
Loans to Insiders*
Other Assets (attach schedule)
TOTAL OTHER ASSETS                                                                           $                                                         $


TOTAL ASSETS                                                                                 $                                                         $


                                                                                                 BOOK VALUE AT END OF                                         BOOK VALUE ON
                 LIABILITIES AND OWNER EQUITY                                                CURRENT REPORTING MONTH                                           PETITION DATE
LIABILITIES NOT SUBJECT TO COMPROMISE (Postpetition)
Accounts Payable
Taxes Payable (refer to FORM MOR-4)
Wages Payable
Notes Payable
Rent / Leases - Building/Equipment
Secured Debt / Adequate Protection Payments
Professional Fees
Amounts Due to Insiders*
Other Postpetition Liabilities (attach schedule)
TOTAL POSTPETITION LIABILITIES                                                               $                                                         $
LIABILITIES SUBJECT TO COMPROMISE (Pre-Petition)
Secured Debt
Priority Debt
Unsecured Debt
TOTAL PRE-PETITION LIABILITIES                                                               $                                                         $


TOTAL LIABILITIES                                                                            $                                                         $
OWNER EQUITY
Capital Stock
Additional Paid-In Capital
Partners' Capital Account
Owner's Equity Account
Retained Earnings - Pre-Petition
Retained Earnings - Postpetition
Adjustments to Owner Equity (attach schedule)
Postpetition Contributions (Distributions) (Draws) (attach schedule)
NET OWNER EQUITY                                                                             $                                                         $


TOTAL LIABILITIES AND OWNERS' EQUITY                                                         $                                                         $

*"Insider" is defined in 11 U.S.C. Section 101(31).




                                                                                                                                                                                               FORM MOR-3
                                                                                                                                                                                                    (04/07)
               Case 19-11736-CSS                          Doc 286              Filed 03/27/20                 Page 12 of 20




In re
                                                                                                                            19-11736 (CSS)
                                                                                                                 Case No. _________________________
                   Cedar Haven Acquisition, LLC
          Debtor________________________________________________                                                                   Jan 2020
                                                                                                                 Reporting Period:___________________



                                                  BALANCE SHEET - continuation sheet


                                                                                BOOK VALUE AT END OF                       BOOK VALUE ON
                                ASSETS                                       CURRENT REPORTING MONTH                        PETITION DATE
Other Current Assets




Other Assets




                                                                                BOOK VALUE AT END OF                       BOOK VALUE ON
              LIABILITIES AND OWNER EQUITY                                   CURRENT REPORTING MONTH                        PETITION DATE
Other Postpetition Liabilities




Adjustments to Owner Equity




Postpetition Contributions (Distributions) (Draws)




Restricted Cash is cash that is restricted for a specific use and not available to fund operations. Typically, restricted cash is segregated
into a separate account, such as an escrow account.




                                                                                                                                                  FORM MOR-3 CONT'D
                                                                                                                                                              (04/07)
                  Case 19-11736-CSS           Doc 286   Filed 03/27/20   Page 13 of 20


Cedar Haven Acquisition, LLC
Balance Sheet
                               1/31/2020

ASSETS                                         Jan‐20
 Current Assets
   Cash Unrestricted                           97,681
   Restricted Cash‐Resident Funds             323,327
   Restricted Cash‐Gift Account                43,051
    Allowance for Doubtful Accounts          ‐296,634
   Accounts Receivable                      4,313,118
   Estimated 3rd Party Receivables            738,458
   Due To/From                                      0
   Other Current Receivables                    1,569
   Prepaid Expenses                           963,067
 TOTAL Current Assets                       6,480,271

 Property and Equipment                     1,055,229
 Deposits                                     578,611
 Other Long‐Term Assets                        80,497
 Intangible Assets
   Loan Origination Cost                      120,285
   Accumulated Amortization                  ‐109,035
 TOTAL Intangible Assets                       11,250
TOTAL ASSETS                                8,205,858




LIABILITIES & EQUITY
  Current Liabilities
   Accounts Payable                         8,294,301
   Accounts Payable‐Bed Tax                         0
   Current Debt                             2,493,459
   Other Current Payables                     373,367
   Acc'd Payroll and Payroll Taxes            519,232
   Acc'd Related Party Mgmt Fees            1,721,135
   TCF Vehicle Finance Payable                 21,580
   Loan Payable‐Member                      3,276,988
   Due To Previous Owner                        5,726
   Resident Funds                             323,327
   Gift Account Restricted                     43,051
   Accrued Expenses                           194,460
  TOTAL Current Liabilities                17,266,625

 Equity
  Members Equity R E                       ‐8,777,105
  Net Income (Loss)                          ‐283,663
 TOTAL Equity                              ‐9,060,768
TOTAL LIABILITIES & EQUITY                  8,205,858
                           Case 19-11736-CSS                           Doc 286              Filed 03/27/20                 Page 14 of 20



      Cedar Haven Acquisition, LLC
In re______________________________                                                                                              19-11736 (CSS)
                                                                                                                      Case No. ___________________________
                Debtor                                                                                                                  Jan 2020
                                                                                                                      Reporting Period:_____________________

                                                           STATUS OF POSTPETITION TAXES

The beginning tax liability should be the ending liability from the prior month or, if this is the first report, the amount should be zero.
Attach photocopies of IRS Form 6123 or payment receipt to verify payment or deposit of federal payroll taxes.
Attach photocopies of any tax returns filed during the reporting period.

                                                            Beginning           Amount                                                                  Ending
                                                              Tax              Withheld or              Amount             Date          Check No.        Tax
                                                            Liability           Accrued                  Paid              Paid           or EFT        Liability
Federal
Withholding
FICA-Employee
FICA-Employer
Unemployment
Income
Other:_________________
  Total Federal Taxes
State and Local
Withholding
Sales                                                              717.54               266.45             710.36        1/21/2020         EFT                  273.63
Excise
Unemployment
Real Property
Personal Property
Other:_________________
  Total State and Local
Total Taxes                                                        717.54              266.45              710.36                                             273.63




                                                  SUMMARY OF UNPAID POSTPETITION DEBTS

Attach aged listing of accounts payable.

                                                                                                     Number of Days Past Due
                                                         Current             0-30                 31-60         61-90                  Over 90       Total
Accounts Payable                                                                    312,441.34           174,051.70       18,999.27                          505.492.31
Wages Payable
Taxes Payable
Rent/Leases-Building
Rent/Leases-Equipment
Secured Debt/Adequate Protection Payments
Professional Fees
Amounts Due to Insiders* Management Fee                                             118,318.66            97,796.35       10,522.26                          226,637.27
Other:__________________________
Other:__________________________
Total Postpetition Debts                                                             430,760.00          271,848.05        29,521.53                         732,129.58


Explain how and when the Debtor intends to pay any past-due postpetition debts.

  Management fees- partial payments against this outstanding balance were paid in February and March.




*"Insider" is defined in 11 U.S.C. Section 101(31).




                                                                                                                                                              FORM MOR-4
                                                                                                                                                                   (04/07)
                                                 Case 19-11736-CSS          Doc 286      Filed 03/27/20     Page 15 of 20


Cedar Haven Acquisition, LLC
Accounts Payable Trial Balance (post‐petition)
                                                  1/31/2020

Vendor                                                        Code       Invoice                Invoice Date Due Date     FP‐FY 0‐30         31‐60       61‐90     Total
ABILITY NETWORK INC                                           ABI0001    19‐M0203146              12/19/2019 1/18/2020     19‐Dec          0    1,233.00         0    1,233.00
ABILITY NETWORK INC                                           ABI0001    FCHRG103287                 1/9/2020  2/8/2020     20‐Jan      18.5           0         0        18.5
ABILITY NETWORK INC                                           ABI0001    20M‐0006112               1/27/2020 2/26/2020      20‐Jan  1,294.65           0         0    1,294.65
Advanced Medical Personnel Services, Inc                      Amp00001   410054                    12/6/2019   1/5/2020    19‐Dec          0    2,680.00         0    2,680.00
Advanced Medical Personnel Services, Inc                      Amp00001   411491                   12/13/2019 1/12/2020     19‐Dec          0    2,629.75         0    2,629.75
Advanced Medical Personnel Services, Inc                      Amp00001   413015                   12/20/2019 1/19/2020     19‐Dec          0    2,692.06         0    2,692.06
Advanced Medical Personnel Services, Inc                      Amp00001   414715                   12/27/2019 1/26/2020      20‐Jan         0    2,665.26         0    2,665.26
Advanced Medical Personnel Services, Inc                      Amp00001   416218                      1/3/2020  2/2/2020     20‐Jan  2,673.30           0         0    2,673.30
Advanced Medical Personnel Services, Inc                      Amp00001   416907                    1/10/2020   2/9/2020     20‐Jan  2,593.57           0         0    2,593.57
Advanced Pharmacy Consultants, LLC                            Apc00001   Statement 1/10/20         1/10/2020   2/9/2020     20‐Jan  3,630.00           0         0    3,630.00
Becker Kitchen Solu ons                                       Bec00001   INV‐702                     1/3/2020  2/2/2020     20‐Jan      315            0         0         315
CARSTENS                                                      CAR0003    INV00407228               1/28/2020 2/27/2020      20‐Jan     56.41           0         0       56.41
CEDAR HAVEN HEALTHCARE CENTER                                 CED0004    5728J.Wanner 4/17/18     11/16/2019 12/16/2019    19‐Nov          0           0    831.82      831.82
CEDAR HAVEN HEALTHCARE CENTER                                 CED0004    5068SSmolsky8/7/17       12/20/2019 1/19/2020     19‐Dec          0      198.94         0      198.94
CEDAR HAVEN HEALTHCARE CENTER                                 CED0004    5969MDickerso12/8/19     12/20/2019 1/19/2020     19‐Dec          0      206.68         0      206.68
CEDAR HAVEN HEALTHCARE CENTER                                 CED0650    123119Transac ons        12/31/2019 1/30/2020     19‐Dec          0      503.08         0      503.08
CEDAR HAVEN HEALTHCARE CENTER                                 CED0650    13120Transac ons          1/31/2020   3/1/2020     20‐Jan  4,649.97           0         0    4,649.97
CENTRAL PENNSYLVANIA EYE AND EAR                              CEN0050    476737                   12/16/2019 12/31/2019    19‐Dec          0        500          0         500
CENTRAL PENNSYLVANIA EYE AND EAR                              CEN0050    402255                      1/8/2020 1/18/2020     20‐Jan      510            0         0         510
CENTRAL PENNSYLVANIA EYE AND EAR                              CEN0050    476732                   12/12/2019 1/31/2020     19‐Dec          0        780          0         780
CENTRAL PENNSYLVANIA EYE AND EAR                              CEN0050    402272                    1/30/2020 2/29/2020      20‐Jan      500            0         0         500
CENTRAL PENNSYLVANIA EYE AND EAR                              CEN0050    402265                    1/20/2020 2/29/2020      20‐Jan  1,805.00           0         0    1,805.00
CENTRAL PENNSYLVANIA EYE AND EAR                              CEN0050    402270                    1/30/2020 2/29/2020      20‐Jan  2,025.00           0         0    2,025.00
CENTRAL PENNSYLVANIA EYE AND EAR                              CEN0050    402271                    1/30/2020 2/29/2020      20‐Jan  2,025.00           0         0    2,025.00
CHEMSEARCH                                                    CHE5180    3813108                   1/13/2020 1/23/2020      20‐Jan    253.85           0         0      253.85
Chipman Brown Cicero & Cole                                   CBC&C001   Ch.11Nov'19 Expenses      12/6/2019   1/5/2020    19‐Dec          0 47,002.22           0 47,002.22
Chipman Brown Cicero & Cole                                   CBC&C001   Ch.11Dec'19 Expenses     12/31/2019 1/30/2020     19‐Dec          0 21,301.96           0 21,301.96
Chipman Brown Cicero & Cole                                   CBC&C001   Ch.11Jan'20 Expenses      1/31/2020   3/1/2020     20‐Jan 22,262.24           0         0 22,262.24
CITY OF LEBANON AUTHORITY                                     CIT0008    357671Revised               1/1/2020 1/31/2020     20‐Jan  2,452.00           0         0    2,452.00
CONTINENTAL BENEFITS GROUP, INC.                              CON0032    86854                    12/31/2019 1/30/2020     19‐Dec          0    1,650.00         0    1,650.00
Con nental General Insurance Company                          CGI00001   2000021386Feb‐Apr20         1/8/2020  2/2/2020     20‐Jan  1,062.08           0         0    1,062.08
Crest/Good Mfg Co.                                            cre0002    27360                    12/26/2019 1/25/2020     19‐Dec          0        57.7         0        57.7
Crest/Good Mfg Co.                                            cre0002    27539                       1/8/2020  2/7/2020     20‐Jan     81.85           0         0       81.85
Direct Mobile Dental Services, Inc                            DMD00001   529813                    1/31/2020   3/1/2020     20‐Jan        80           0         0          80
DIRECT SUPPLY HEALTHCARE EQPT                                 DIR5249    27735898                    1/1/2020 1/31/2020     20‐Jan      129            0         0         129
                                        Case 19-11736-CSS     Doc 286      Filed 03/27/20   Page 16 of 20


DIRECT SUPPLY HEALTHCARE EQPT                  DIR5249    27837203                 1/31/2020   3/1/2020 20‐Jan       129           0   0       129
East Coast Food Equipment Inc.                 Eas00001   086128                  12/24/2019 1/23/2020 19‐Dec           0      78.44   0      78.44
East Coast Food Equipment Inc.                 Eas00001   089105                    1/7/2020   2/6/2020 20‐Jan      57.24          0   0      57.24
East Coast Food Equipment Inc.                 Eas00001   092139                   1/21/2020 2/20/2020 20‐Jan       57.24          0   0      57.24
ECOLAB INC                                     ECO0001    6253376991              12/25/2019 1/24/2020 19‐Dec           0      67.47   0      67.47
ECOLAB INC                                     ECO0001    6253376992              12/25/2019 1/24/2020 19‐Dec           0     462.96   0     462.96
EZ WAY INC.                                    EZW0002    E17219                    1/3/2020   2/2/2020 20‐Jan   1,188.50          0   0   1,188.50
Fraser Advanced Info Systems                   FRA00011   4217500000               12/4/2019 12/30/2019 19‐Dec          0   3,415.52   0   3,415.52
Fraser Advanced Info Systems                   FRA00011   5008712739                1/5/2020 1/31/2020 20‐Jan    3,415.52          0   0   3,415.52
General Supply Company                         GEN00001   1912‐045960             12/23/2019 1/22/2020 19‐Dec           0     527.99   0     527.99
Gorman Distributors, Inc                       gor00001   230877                    1/2/2020   2/1/2020 20‐Jan     108.95          0   0     108.95
Gorman Distributors, Inc                       gor00001   231066                    1/9/2020   2/8/2020 20‐Jan     268.02          0   0     268.02
Gorman Distributors, Inc                       gor00001   231561                   1/30/2020 2/29/2020 20‐Jan      514.66          0   0     514.66
Green Giant Pest Control                       Ggp00001   517628                  12/23/2019 1/22/2020 19‐Dec           0      291.5   0      291.5
Green Giant Pest Control                       Ggp00001   517787                   1/13/2020 2/12/2020 20‐Jan       291.5          0   0      291.5
Guardian                                       Gua00001   Statement 1/15/2020      1/15/2020 1/15/2020 20‐Jan      492.22          0   0     492.22
Guardian CSC                                   gua00002   C061330                  1/15/2020 2/14/2020 20‐Jan       365.7          0   0      365.7
Harmony Healthcare Interna onal, Inc.          HHI00001   20206                   12/11/2019 12/11/2019 19‐Dec          0   8,000.00   0   8,000.00
Harmony Healthcare Interna onal, Inc.          HHI00001   20246                    1/15/2020 1/15/2020 20‐Jan    8,000.00          0   0   8,000.00
HD SUPPLY FACILITIES MAINT LTD                 HDS0001    9178160339              12/20/2019 1/19/2020 19‐Dec           0      73.65   0      73.65
HD SUPPLY FACILITIES MAINT LTD                 HDS0001    9178171067              12/23/2019 1/22/2020 19‐Dec           0      22.36   0      22.36
HD SUPPLY FACILITIES MAINT LTD                 HDS0001    9178171065              12/23/2019 1/22/2020 19‐Dec           0      78.42   0      78.42
HD SUPPLY FACILITIES MAINT LTD                 HDS0001    9178206159              12/24/2019 1/23/2020 19‐Dec           0      32.25   0      32.25
HD SUPPLY FACILITIES MAINT LTD                 HDS0001    9178224020              12/26/2019 1/25/2020 19‐Dec           0      82.85   0      82.85
HD SUPPLY FACILITIES MAINT LTD                 HDS0001    9178246421              12/27/2019 1/26/2020 19‐Dec           0     218.24   0     218.24
HD SUPPLY FACILITIES MAINT LTD                 HDS0001    9178270148              12/30/2019 1/29/2020 19‐Dec           0     209.59   0     209.59
HD SUPPLY FACILITIES MAINT LTD                 HDS0001    9178578558               1/13/2020 2/12/2020 20‐Jan      254.92          0   0     254.92
HD SUPPLY FACILITIES MAINT LTD                 HDS0001    9178834694               1/22/2020 2/21/2020 20‐Jan      129.15          0   0     129.15
HD SUPPLY FACILITIES MAINT LTD                 HDS0001    9178909199               1/24/2020 2/23/2020 20‐Jan      911.93          0   0     911.93
HD SUPPLY FACILITIES MAINT LTD                 HDS0001    9178979276               1/28/2020 2/27/2020 20‐Jan      143.94          0   0     143.94
HD SUPPLY FACILITIES MAINT LTD                 HDS0001    9179084342               1/31/2020   3/1/2020 20‐Jan     471.19          0   0     471.19
Health Network Laboratories                    HNL00001   C7230123119             12/31/2019 12/31/2019 19‐Dec          0         75   0         75
Health Network Laboratories                    HNL00001   C7230013120              1/31/2020 1/31/2020 20‐Jan        300           0   0       300
Jordan Bishop                                  Bis00001   Mileage 1/17/20          1/17/2020 2/16/2020 20‐Jan          29          0   0         29
KCI USA                                        KCI5513    29194450                12/15/2019 1/14/2020 19‐Dec           0     846.44   0     846.44
KCI USA                                        KCI5513    29203300                12/19/2019 1/18/2020 19‐Dec           0     349.16   0     349.16
KCI USA                                        KCI5513    29158214                12/31/2019 1/30/2020 19‐Dec           0   1,677.72   0   1,677.72
KCI USA                                        KCI5513    29159706                12/31/2019 1/30/2020 19‐Dec           0   1,677.72   0   1,677.72
KCI USA                                        KCI5513    29162800                12/31/2019 1/30/2020 19‐Dec           0   1,817.22   0   1,817.22
KCI USA                                        KCI5513    29234618                  1/3/2020   2/2/2020 20‐Jan   1,033.06          0   0   1,033.06
                                           Case 19-11736-CSS     Doc 286          Filed 03/27/20      Page 17 of 20


KCI USA                                           KCI5513    29274893                     1/22/2020    2/21/2020    20‐Jan   1,033.06          0        0   1,033.06
KCI USA                                           KCI5513    29230924                     1/31/2020     3/1/2020    20‐Jan     162.36          0        0     162.36
KCI USA                                           KCI5513    29225527                     1/31/2020     3/1/2020    20‐Jan   1,677.72          0        0   1,677.72
KCI USA                                           KCI5513    29227589                     1/31/2020     3/1/2020    20‐Jan   1,817.22          0        0   1,817.22
Kennedy, PC                                       Ken00001   48845                         1/8/2020     2/7/2020    20‐Jan         65          0        0         65
Kennedy, PC                                       Ken00001   48847                         1/8/2020     2/7/2020    20‐Jan         65          0        0         65
Kennedy, PC                                       Ken00001   48849                         1/8/2020     2/7/2020    20‐Jan       390           0        0        390
Kennedy, PC                                       Ken00001   48846                         1/8/2020     2/7/2020    20‐Jan   1,430.00          0        0   1,430.00
Kennedy, PC                                       Ken00001   48848                         1/8/2020     2/7/2020    20‐Jan   1,535.00          0        0   1,535.00
Keystone Collec ons Group                         Key00001   DXX 2YS VDA #1               1/15/2020     3/1/2020    20‐Jan     602.65          0        0     602.65
Keystone Collec ons Group                         Key00001   DXX 2YS VDA #2               1/15/2020     6/1/2020    20‐Jan     602.65          0        0     602.65
Keystone Collec ons Group                         Key00001   DXX 2YS VDA #3               1/15/2020     9/1/2020    20‐Jan     602.65          0        0     602.65
Keystone Collec ons Group                         Key00001   DXX 2YS VDA #4               1/15/2020    12/1/2020    20‐Jan     602.64          0        0     602.64
Lancaster General Health                          LGH00001   11/7/19 M. Gibble            1/23/2020    2/22/2020    20‐Jan       73.8          0        0       73.8
Lease Administra on Center                        lea00001   1281173                      1/10/2020    1/31/2020    20‐Jan      24.01          0        0      24.01
Legal Shield                                      Leg00001   157589 1/15/20               1/15/2020    1/15/2020    20‐Jan      374.8          0        0      374.8
LEHIGH VALLEY RESPIRATORY CARE‐LANCASTER          LEH0001    Group Bill 12/2/19           12/2/2019     1/1/2020   19‐Dec           0   2,510.00        0   2,510.00
LEHIGH VALLEY RESPIRATORY CARE‐LANCASTER          LEH0001    Group Bill 1/6/20             1/6/2020     2/5/2020    20‐Jan   1,540.00          0        0   1,540.00
LSQ FUNDING GROUP, L.C.                           LSQ0001    2019931                      1/31/2020    3/31/2020    20‐Jan   2,364.00          0        0   2,364.00
Master Medical Group LLC                          mas0001    70316                       12/30/2019    1/29/2020   19‐Dec           0     374.85        0     374.85
Master Medical Group LLC                          mas0001    70252                        1/14/2020    2/13/2020    20‐Jan      174.9          0        0      174.9
Master Medical Group LLC                          mas0001    70251                        1/14/2020    2/13/2020    20‐Jan     583.05          0        0     583.05
McKESSON MEDICAL‐SURGICAL MINNESOTA SUPPLY INC.   MCK0009    68983325                    11/13/2019    2/11/2020   19‐Nov           0          0    423.4      423.4
McKESSON MEDICAL‐SURGICAL MINNESOTA SUPPLY INC.   MCK0009    69383507                    11/18/2019    2/16/2020   19‐Nov           0          0   401.65     401.65
McKESSON MEDICAL‐SURGICAL MINNESOTA SUPPLY INC.   MCK0009    69832122                    11/22/2019    2/20/2020   19‐Nov           0          0    38.73      38.73
McKESSON MEDICAL‐SURGICAL MINNESOTA SUPPLY INC.   MCK0009    69928184                    11/25/2019    2/23/2020   19‐Nov           0          0   491.16     491.16
McKESSON MEDICAL‐SURGICAL MINNESOTA SUPPLY INC.   MCK0009    69961273                    11/25/2019    2/23/2020   19‐Nov           0          0   658.96     658.96
McKESSON MEDICAL‐SURGICAL MINNESOTA SUPPLY INC.   MCK0009    70193001                    11/27/2019    2/25/2020   19‐Nov           0          0    403.5      403.5
McKESSON MEDICAL‐SURGICAL MINNESOTA SUPPLY INC.   MCK0009    70746806                     12/4/2019     3/3/2020   19‐Dec           0     362.68        0     362.68
McKESSON MEDICAL‐SURGICAL MINNESOTA SUPPLY INC.   MCK0009    71116871                     12/9/2019     3/8/2020   19‐Dec           0     394.91        0     394.91
McKESSON MEDICAL‐SURGICAL MINNESOTA SUPPLY INC.   MCK0009    71446380                    12/12/2019    3/11/2020   19‐Dec           0      11.76        0      11.76
McKESSON MEDICAL‐SURGICAL MINNESOTA SUPPLY INC.   MCK0009    71791292                    12/16/2019    3/16/2020   19‐Dec           0      ‐30.4        0      ‐30.4
McKESSON MEDICAL‐SURGICAL MINNESOTA SUPPLY INC.   MCK0009    71702524                    12/16/2019    3/16/2020   19‐Dec           0     579.91        0     579.91
McKESSON MEDICAL‐SURGICAL MINNESOTA SUPPLY INC.   MCK0009    71914389                    12/17/2019    3/17/2020   19‐Dec           0     357.16        0     357.16
McKESSON MEDICAL‐SURGICAL MINNESOTA SUPPLY INC.   MCK0009    72031574                    12/18/2019    3/18/2020   19‐Dec           0      63.97        0      63.97
McKESSON MEDICAL‐SURGICAL MINNESOTA SUPPLY INC.   MCK0009    72861497                    12/31/2019    3/30/2020   19‐Dec           0     326.55        0     326.55
McKESSON MEDICAL‐SURGICAL MINNESOTA SUPPLY INC.   MCK0009    73196090                      1/5/2020     4/4/2020    20‐Jan     129.32          0        0     129.32
McKESSON MEDICAL‐SURGICAL MINNESOTA SUPPLY INC.   MCK0009    73218937                      1/6/2020     4/5/2020    20‐Jan     494.78          0        0     494.78
McKESSON MEDICAL‐SURGICAL MINNESOTA SUPPLY INC.   MCK0009    73719627                      1/9/2020     4/8/2020    20‐Jan      43.69          0        0      43.69
McKESSON MEDICAL‐SURGICAL MINNESOTA SUPPLY INC.   MCK0009    73862674                     1/13/2020    4/12/2020    20‐Jan     400.76          0        0     400.76
                                           Case 19-11736-CSS     Doc 286      Filed 03/27/20   Page 18 of 20


McKESSON MEDICAL‐SURGICAL MINNESOTA SUPPLY INC.   MCK0009    74333559                 1/16/2020 4/15/2020 20‐Jan       263.57           0          0      263.57
McKESSON MEDICAL‐SURGICAL MINNESOTA SUPPLY INC.   MCK0009    74472551                 1/20/2020 4/19/2020 20‐Jan       577.17           0          0      577.17
McKESSON MEDICAL‐SURGICAL MINNESOTA SUPPLY INC.   MCK0009    74932377                 1/23/2020 4/22/2020 20‐Jan        48.79           0          0       48.79
McKESSON MEDICAL‐SURGICAL MINNESOTA SUPPLY INC.   MCK0009    75088376                 1/27/2020 4/26/2020 20‐Jan       607.64           0          0      607.64
McKESSON MEDICAL‐SURGICAL MINNESOTA SUPPLY INC.   MCK0009    75565523                 1/30/2020 4/29/2020 20‐Jan        35.83           0          0       35.83
MEDEXPRESS URGENT CARE, PC PENNSYLVANIA           MED0028    1420427C3908             12/2/2019   1/1/2020 19‐Dec           0    2,343.00          0    2,343.00
MEDEXPRESS URGENT CARE, PC PENNSYLVANIA           MED0028    1437983C3908              1/2/2020   2/1/2020 20‐Jan    1,040.00           0          0    1,040.00
MEDLINE INDUSTRIES INC                            MED0003    1900217420               1/31/2020 1/31/2020 20‐Jan       155.22           0          0      155.22
Messer LLC                                        LIN0008    2101730065              12/31/2019 1/30/2020 19‐Dec            0    1,326.19          0    1,326.19
Messer LLC                                        LIN0008    2101785118                1/1/2020 1/31/2020 20‐Jan     2,274.85           0          0    2,274.85
Messer LLC                                        LIN0008    2101906720               1/30/2020 2/29/2020 20‐Jan     1,936.22           0          0    1,936.22
Messer LLC                                        LIN0008    2101846752               1/31/2020   3/1/2020 20‐Jan    1,378.72           0          0    1,378.72
Mid Penn Electrical Services, Inc.                mid00001   1830                     1/27/2020 2/26/2020 20‐Jan       163.17           0          0      163.17
MOBILEX USA                                       MOB0004    22672703                12/31/2019 1/30/2020 19‐Dec            0        56.1          0        56.1
MOBILEX USA                                       MOB0004    22612291‐Ultrasound     12/31/2019 1/30/2020 19‐Dec            0      614.84          0      614.84
MOBILEX USA                                       MOB0004    22612279‐Xray           12/31/2019 1/30/2020 19‐Dec            0      628.98          0      628.98
MOBILEX USA                                       MOB0004    23232546                 1/31/2020   3/1/2020 20‐Jan      118.59           0          0      118.59
MOBILEX USA                                       MOB0004    23232544                 1/31/2020   3/1/2020 20‐Jan      517.54           0          0      517.54
MOBILEX USA                                       MOB0004    23232551                 1/31/2020   3/1/2020 20‐Jan      676.54           0          0      676.54
Na onal Staﬃng Solu ons                           Nss00001   183951                  12/21/2019 1/20/2020 19‐Dec            0      870.33          0      870.33
Na onal Staﬃng Solu ons                           Nss00001   184524                  12/28/2019 1/27/2020 19‐Dec            0        910           0         910
Na onal Staﬃng Solu ons                           Nss00001   185022                    1/4/2020   2/3/2020 20‐Jan      662.67           0          0      662.67
Na onal Staﬃng Solu ons                           Nss00001   185581                   1/11/2020 2/10/2020 20‐Jan     1,120.00           0          0    1,120.00
Na onal Staﬃng Solu ons                           Nss00001   186110                   1/18/2020 2/17/2020 20‐Jan       884.33           0          0      884.33
Na onal Staﬃng Solu ons                           Nss00001   186678                   1/25/2020 2/24/2020 20‐Jan     1,401.83           0          0    1,401.83
Netrepid                                          NET00001   91154                    12/1/2019 12/31/2019 19‐Dec           0           0   5,000.00    5,000.00
Netrepid                                          NET00001   91398                     1/1/2020 1/31/2020 20‐Jan    10,000.00           0          0   10,000.00
New Centurion LLC                                 New00002   CH‐001‐020               1/27/2020 2/11/2020 20‐Jan        540.5           0          0       540.5
PA DEPT OF LABOR & INDUSTRY ‐ B                   PAD0004    1132433                  1/29/2020 3/29/2020 20‐Jan        74.61           0          0       74.61
Pennsylvania Guardianship Associa on              PGA00001   V.Craig Jan 2020          1/1/2020 1/31/2020 20‐Jan         100            0          0         100
Pharmscript, LLC                                  Phs00001   IN000569811              12/9/2019   1/8/2020 19‐Dec           0   20,274.36          0   20,274.36
Pharmscript, LLC                                  Phs00001   IN000580371              1/13/2020 2/12/2020 20‐Jan    24,234.57           0          0   24,234.57
PinnacleHealth Medical Services                   Phm00001   1219                    12/19/2019 1/18/2020 19‐Dec            0    2,400.00          0    2,400.00
PinnacleHealth Medical Services                   Phm00001   120                      1/24/2020 2/23/2020 20‐Jan     2,400.00           0          0    2,400.00
PITNEY BOWES GLOBAL FINANCIAL SERV                PIT1082    3310453921                1/6/2020   1/6/2020 20‐Jan        50.4           0          0        50.4
PointClickCare Technologies Inc                   PCC00001   1714572                   1/1/2020 1/31/2020 20‐Jan     6,146.64           0          0    6,146.64
Po er Anderson & Corroon LLP                      PA&C0001   Ch.11 Monthly Pmt#3     12/20/2019 1/19/2020 19‐Dec            0   23,518.92          0   23,518.92
Po er Anderson & Corroon LLP                      PA&C0001   Ch.11 Monthly Pmt#5      2/21/2020 3/22/2020 20‐Jan    10,783.92           0          0   10,783.92
Prominent Medical Staﬃng                          PMS00001   1190000421                1/1/2020 1/31/2020 20‐Jan     2,356.38           0          0    2,356.38
Prominent Medical Staﬃng                          PMS00001   1200000010                1/8/2020   2/7/2020 20‐Jan    3,463.88           0          0    3,463.88
                                           Case 19-11736-CSS     Doc 286      Filed 03/27/20      Page 19 of 20


Prominent Medical Staﬃng                          PMS00001   1200000015               1/15/2020    2/14/2020    20‐Jan     1,760.00          0          0    1,760.00
Prominent Medical Staﬃng                          PMS00001   1200000022               1/22/2020    2/21/2020    20‐Jan     4,124.14          0          0    4,124.14
Prominent Medical Staﬃng                          PMS00001   1200000032               1/29/2020    2/28/2020    20‐Jan     3,157.50          0          0    3,157.50
Prompt Care Respiratory                           Pro20001   7602220                  1/15/2020    2/14/2020    20‐Jan         650           0          0        650
Prompt Care Respiratory                           Pro20001   7477981                  1/24/2020    2/23/2020    20‐Jan         650           0          0        650
Ryniker Consultants LLC                           Ryn00001   Ch.11 Monthly Pmt#3      1/22/2020    2/21/2020   19‐Dec     14,628.68          0          0   14,628.68
Scrubs On Wheels #2                               Sow00001   5917‐18 11/15/19        11/15/2019   12/15/2019   19‐Nov             0          0   5,063.05    5,063.05
SHRED‐IT USA LLC                                  SHR0003    8128916642              12/31/2019    1/30/2020   19‐Dec             0   2,323.90          0    2,323.90
SHRED‐IT USA LLC                                  SHR0003    8129729457               1/31/2020     3/1/2020    20‐Jan        60.23          0          0       60.23
Sills Cummis & Gross                              SCG00001   1760522                 11/13/2019   12/13/2019   19‐Nov             0          0   3,465.50    3,465.50
Sills Cummis & Gross                              SCG00001   1763190                 12/18/2019    1/17/2020   19‐Dec             0      127.5          0       127.5
SLT SEWER FUND                                    SOU0009    10162Jan2020             1/10/2020     2/9/2020    20‐Jan     3,153.49          0          0    3,153.49
Spectrio, LLC                                     ONH0001    1004333                   1/1/2020    1/31/2020    20‐Jan        39.55          0          0       39.55
STATE INDUSTRIAL PRODUCTS                         STA0021    901293995               12/11/2019    1/10/2020   19‐Dec             0     248.68          0      248.68
STATE INDUSTRIAL PRODUCTS                         STA0021    901349979                1/27/2020    2/26/2020    20‐Jan       256.14          0          0      256.14
Stre o                                            str00001   3259                    12/31/2019    1/30/2020   19‐Dec             0   2,819.60          0    2,819.60
Stre o                                            str00001   3312                     1/31/2020     3/1/2020    20‐Jan     5,120.32          0          0    5,120.32
Symtech Solu ons                                  Sym00001   80823                    1/30/2020    1/30/2020    20‐Jan    32,224.00          0          0   32,224.00
TridentUSA Mobile Infusion Services, LLC          Tri00009   MIS15491                11/26/2019   12/26/2019   19‐Nov             0          0      621.5       621.5
TridentUSA Mobile Infusion Services, LLC          Tri00009   MIS20440                 1/29/2020    2/28/2020    20‐Jan     1,320.00          0          0    1,320.00
UGI ENERGY SERVICES LLC                           UGI0002    G4444981                12/31/2019    1/15/2020   19‐Dec             0   2,888.03          0    2,888.03
UGI ENERGY SERVICES LLC                           UGI0002    G4477654                 1/30/2020    2/14/2020    20‐Jan     2,885.11          0          0    2,885.11
UGI UTILITIES INC                                 UGI0001    421002509071Jan20        1/23/2020    2/10/2020    20‐Jan     3,059.19          0          0    3,059.19
UGI UTILITIES INC                                 UGI0001    421002480414Jan20        1/17/2020    2/16/2020    20‐Jan     1,330.19          0          0    1,330.19
United States Trustee Payment Center              UST00002   Q4 2019                   1/6/2020     1/6/2020    20‐Jan    49,467.00          0          0   49,467.00
United States Trustee Payment Center              UST00002   Statement 1/31/20        1/31/2020     3/1/2020    20‐Jan    21,141.00          0          0   21,141.00
Waste Industries                                  Was00007   0042518936              12/31/2019   12/31/2019   19‐Dec             0   1,568.48          0    1,568.48
Waste Industries                                  Was00007   42679467                 1/13/2020    1/13/2020    20‐Jan       722.74          0          0      722.74
Waste Industries                                  Was00007   42706137                 1/20/2020    1/20/2020    20‐Jan       690.76          0          0      690.76
Waste Industries                                  Was00007   42831230                 1/31/2020    1/31/2020    20‐Jan       476.97          0          0      476.97
Waste Industries                                  Was00007   42876599                 1/31/2020    1/31/2020    20‐Jan     1,067.06          0          0    1,067.06
Waste Industries                                  Was00007   42744731                 1/27/2020    2/26/2020    20‐Jan     1,386.20          0          0    1,386.20
Weaco Equipment                                   wea00001   1‐501839                 1/20/2020    1/20/2020    20‐Jan        201.4          0          0       201.4
WellSpan Good Samaritan Hospital                  GOO0004    45374891                12/31/2019    1/30/2020   19‐Dec             0   2,076.25          0    2,076.25
WellSpan Good Samaritan Hospital                  GOO0004    45895040                 1/31/2020     3/1/2020    20‐Jan     3,072.20          0          0    3,072.20
WellSpan Philhaven                                PHI0002    IN1709                   12/1/2019    12/1/2019   19‐Dec             0          0   1,600.00    1,600.00
WellSpan Philhaven                                PHI0002    IN1760                    1/1/2020    1/31/2020    20‐Jan     1,600.00          0          0    1,600.00
WINDSTREAM                                        WIN0006    011486555Jan2020         1/28/2020    2/17/2020    20‐Jan       815.67          0          0      815.67

                                                                                                                         312,441.34 174,051.70 18,999.27 505,492.31
                     Case 19-11736-CSS                 Doc 286         Filed 03/27/20      Page 20 of 20



       Cedar Haven Acquisition, LLC
In re______________________________
                Debtor                                                                           Jan 2020



                       ACCOUNTS RECEIVABLE RECONCILIATION AND AGING


Accounts Receivable Reconciliation                                                                     Amount
Total Accounts Receivable at the beginning of the reporting period                                          3,506,589
+ Amounts billed during the period                                                                           2,200,492
- Amounts collected during the period                                                                       (1,094,229)
                                                                                                             (
Total Accounts Receivable at the end of the reporting period                                                    4,612,852

Accounts Receivable Aging                                                                              Amount
0 - 30 days old                                                                                             1,922,452
31 - 60 days old                                                                                            1,394,615
61 - 90 days old                                                                                              460,684
91+ days old                                                                                                  835,101
Total Accounts Receivable                                                                                   4,612,852
Amount considered uncollectible (Bad Debt)                                                                  (296,634)
                                                                                                               (
Accounts Receivable (Net)                                                                                   4,316,218

                                                DEBTOR QUESTIONNAIRE

Must be completed each month                                                                        Yes           No
1. Have any assets been sold or transferred outside the normal course of business
   this reporting period? If yes, provide an explanation below.
2. Have any funds been disbursed from any account other than a debtor in possession
   account this reporting period? If yes, provide an explanation below.
3. Have all postpetition tax returns been timely filed? If no, provide an explanation
   below.
4. Are workers compensation, general liability and other necessary insurance
   coverages in effect? If no, provide an explanation below.
5. Has any bank account been opened during the reporting period? If yes, provide
   documentation identifying the opened account(s). If an investment account has been opened
   provide the required documentation pursuant to the Delaware Local Rule 4001-3.




                                                                                                                FORM MOR-5
                                                                                                                     (04/07)
